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11
                                       UNITED STATES DISTRICT COURT
12
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
13
                              AND THE NORTHERN DISTRICT OF CALIFORNIA
14
                  UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
15
                     PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
16

17
        RALPH COLEMAN, et aI.,                          No. 2:90-cv-00520 LKK JFM P
18
                         Plaintiffs,                    THREE-JUDGE COURT
19
                v.
20
        ARNOLD SCHWARZENEGGER, et aI.,
21
                         Defendants.
22
        MARCIANO PLATA, et aI.,                         No. C01-1351 TEH
23
                         Plaintiffs,                    THREE-JUDGE COURT
24
                v.
25                                                      DECLARATION OF KYLE LEWIS
        ARNOLD SCHWARZENEGGER, et aI.,                  SUPPORTING DEFENDANTS'
26                                                      OPPOSITION TO PLAINTIFFS' MOTION IN
                         Defendants.                    LIMINE NO.2
27
                                                        TO: Three-Judge Panel
28
       . Decl. Lewis Supp. Defs.' Opp'n Pis.' Mot. In                          Case No. 90-00520 LKK JFM
         Limine NO.2                                                             Case No. C01-01351 TEH
                    Case 2:90-cv-00520-KJM-SCR                Document 3138          Filed 10/30/08       Page 2 of 2


               1          I, Kyle Lewis, declare:

               2          1.       I am an attorney licensed to practice before the courts of the State of California.

               3   I am admitted to practice before the United States District Court of California, Eastern and

               4   Northern Districts. I am employed as a Deputy Attorney General with the Office of the
                                                                   \

               5   Attorney General, attorney of record for the Defendants in this matter.

               6          2.       I have personal knowledge of the facts stated in this declaration and if called to
               7   testify upon those facts would do so competently.

               8          3.       Dr. Marquart's Supplemental Report was produced almost two weeks before

               9   his deposition and ~pproximately two months before the trial date in this matter. A true and

              10   correct copy of the Supplemental Report of Dr. James Marquart, dated September 22, 2008
              11   is attached hereto as Exhibit A.

              12          4.       On September 25; 2008, Plaintiffs' expert James Austin produced a

              13   Supplemental Report that rebutted Dr. Marquart's Supplemental Report. A true and correct

              14   copy of Dr. Ira Packer's Supplemental Report, dated December 10,2007 is attached hereto
              15   as Exhibit B.

              16          I declare under the penalty of perjury that the foregoing is true and correct. Executed

              17   on October 30,2008 in San Francisco, California.

              18
                                                                        //s// Kyle Lewis
              19
                                                                       KYLE LEWIS
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1[232656-1]    I     DECL. OF LEWIS SUPP. DEFS.' OPP'N. MIL NO.2                           CASE NOS.: CIV S 90-0520 LKK-JFM, COI-B51 TEH
